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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

 UNITED STATES OF AMERICA                                                                   PLAINTIFF

 V.                                                           CAUSE NO. 3:12-cr-118-CWR-FKB-1

 HERBERT JEROME TOWNSEND                                                                 DEFENDANT


                                              ORDER

        Before the Court is Petitioner Herbert Jerome Townsend’s Motion for Reconsideration.

Federal courts recognize “only three possible grounds for any motion for reconsideration: (1) an

intervening change in controlling law, (2) the availability of new evidence not previously

available, and (3) the need to correct a clear error of law or prevent manifest injustice.” Atkins v.

Marathon LeTourneau Co., 130 F.R.D. 625, 626 (S.D. Miss. 1990). Having considered

Townsend’s motion for reconsideration, the record, and relevant legal authorities, the Court finds

that the motion is not well-taken and should be DENIED.

        SO ORDERED, this the 12th day of April, 2018.


                                                       s/ Carlton W. Reeves
                                                       UNITED STATES DISTRICT JUDGE
